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                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
                             SOUTHERN DIVISION



   CHAZZ ANDRE JACKSON,                No. SA CV 19-01384-DMG (DFM)

               Petitioner,
                                       JUDGMENT
                    v.

   CHRISTIAN PFEIFFER,

               Respondent.



        Pursuant to the Court’s Order Accepting the Report and
  Recommendation of United States Magistrate Judge,
        IT IS ADJUDGED that the Petition is denied and this action dismissed
  with prejudice.


   DATED: November 30, 2021                ________________________       _
                                           DOLLY M. GEE
                                           United States District Judge
